               Case 8:22-bk-12070-SC                    Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                     Desc
                                                        Main Document    Page 1 of 44

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Aerosysng, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Aerosystems Engineering
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1112 W. Barkley Avenue
                                  Orange, CA 92868
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 8:22-bk-12070-SC                      Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                    Desc
                                                            Main Document    Page 2 of 44
Debtor    Aerosysng, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3329

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 8:22-bk-12070-SC                           Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                       Desc
                                                                 Main Document    Page 3 of 44
Debtor    Aerosysng, Inc.                                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                Case 8:22-bk-12070-SC         Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                             Desc
                                              Main Document    Page 4 of 44
Debtor   Aerosysng, Inc.                                                           Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 5 of 44
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 6 of 44
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 7 of 44
             Case 8:22-bk-12070-SC                                         Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                                                   Desc
                                                                           Main Document    Page 8 of 44
Fill in this information to identify the case:

Debtor name           Aerosysng, Inc.

United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $            20,000.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $            20,000.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           837,659.75


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                800.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           333,900.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,172,359.75




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
            Case 8:22-bk-12070-SC                   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                           Desc
                                                    Main Document    Page 9 of 44
Fill in this information to identify the case:

Debtor name         Aerosysng, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Chase
          3.1.     (overdrawn -$345.00)                              Checking                                                                               $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Rent security deposit held by:
                   Barkley Square Partners
                   1106 W. Barkley Street, Unit 1
          7.1.     Orange, CA 92868                                                                                                                 $5,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
           Case 8:22-bk-12070-SC                     Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                    Desc
                                                     Main Document    Page 10 of 44
Debtor       Aerosysng, Inc.                                                              Case number (If known)
             Name


9.        Total of Part 2.                                                                                              $5,000.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     15,000.00      -                                 0.00 = ....     $15,000.00
                                       face amount                          doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                             $15,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                         page 2
           Case 8:22-bk-12070-SC                    Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                  Desc
                                                    Main Document    Page 11 of 44
Debtor       Aerosysng, Inc.                                                               Case number (If known)
             Name

Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                       page 3
              Case 8:22-bk-12070-SC                               Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                                Desc
                                                                  Main Document    Page 12 of 44
Debtor          Aerosysng, Inc.                                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $5,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $15,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $20,000.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $20,000.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
            Case 8:22-bk-12070-SC                           Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                        Desc
                                                            Main Document    Page 13 of 44
Fill in this information to identify the case:

Debtor name         Aerosysng, Inc.

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Avalon Funding
2.1                                                                                                                         Unknown                 $15,000.00
      Corporation                                  Describe debtor's property that is subject to a lien
      Creditor's Name                              90 days or less: Alatus Aerostructures
                                                   Berry Way, Brea, CA 92821
      PO Box 10863
      Santa Ana, CA 92711
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2019                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Small Business
      Administration
      2. Internal Revenue Service
      3. Employment
      Development Dept
      4. Bank of the West
      5. Avalon Funding
      Corporation

2.2   Bank of the West                             Describe debtor's property that is subject to a lien                 $186,544.00                 $15,000.00
      Creditor's Name                              90 days or less: Alatus Aerostructures
                                                   Berry Way, Brea, CA 92821
      2527 Camino Ramon
      San Ramon, CA 94583
      Creditor's mailing address                   Describe the lien
                                                   Judgment Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6
            Case 8:22-bk-12070-SC                         Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                             Desc
                                                          Main Document    Page 14 of 44
Debtor      Aerosysng, Inc.                                                                       Case number (if known)
            Name

                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2018                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.3   Citizens Business Bank                      Describe debtor's property that is subject to a lien                     Unknown    Unknown
      Creditor's Name                             Large Cubicle, 3 office desks, 2 front desk
                                                  and shelving units, 1 conference desk, 5 work
                                                  benches, 1 packing table station
                                                  w/accessories, Conference table, 4 chairs, 3
      701 North Haven Ave.,                       not so good chairs, 1 executive desk, 2
      Suite 210                                   cubicles, 1 standard desk, 1 ret
      Ontario, CA 91764
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Citizens Business Bank                      Describe debtor's property that is subject to a lien                     Unknown    Unknown
      Creditor's Name                             4 Computers
                                                  4 Laser Printers
      701 North Haven Ave.,                       1 printer laser B/W
      Suite 210                                   4 monitors
      Ontario, CA 91764
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 2 of 6
            Case 8:22-bk-12070-SC                         Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                             Desc
                                                          Main Document    Page 15 of 44
Debtor      Aerosysng, Inc.                                                                       Case number (if known)
            Name



2.5   Citizens Business Bank                      Describe debtor's property that is subject to a lien                     Unknown   $165,000.00
      Creditor's Name                             2009 International Flat Stake Bed Truck
      701 North Haven Ave.,                       International Durastar
      Suite 210                                   165,0000
      Ontario, CA 91764
      Creditor's mailing address                  Describe the lien
                                                  Vehicle loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Citizens Business Bank                      Describe debtor's property that is subject to a lien                     Unknown     $5,000.00
      Creditor's Name                             Cutters for CNC Lathe and CNC Mills
      701 North Haven Ave.,
      Suite 210
      Ontario, CA 91764
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Citizens Business Bank                      Describe debtor's property that is subject to a lien                     Unknown     Unknown
      Creditor's Name                             2014 Toyota Fork Lift
      701 North Haven Ave.,                       5000 lbs/low hours
      Suite 210
      Ontario, CA 91764
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 3 of 6
            Case 8:22-bk-12070-SC                         Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                 Desc
                                                          Main Document    Page 16 of 44
Debtor      Aerosysng, Inc.                                                                       Case number (if known)
            Name

      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.8   Citizens Business Bank                      Describe debtor's property that is subject to a lien                     $247,932.00    Unknown
      Creditor's Name                             Doosan DNM 500 II 8K Spindle
                                                  HAAS CNC VF6SS 12K Spindle
                                                  Trunnion Table for HAAS CNC VF6SS
                                                  Hot Dimple Machine
                                                  Kaiser Air Compressor
                                                  Great Lakes Air Dryer
                                                  Hydraulic Press 250 Ton
                                                  Shrinker and Stretcher 1
      701 North Haven Ave.,                       Shrinker and Stretcher 2
      Suite 210                                   Fork
      Ontario, CA 91764
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Employment Development
2.9                                               Describe debtor's property that is subject to a lien                      $20,049.00   $15,000.00
      Dept
      Creditor's Name                             90 days or less: Alatus Aerostructures
      Bankruptcy Group MIC 92E                    Berry Way, Brea, CA 92821
      PO Box 826880
      Sacramento, CA
      94280-0001
      Creditor's mailing address                  Describe the lien
                                                  State Tax Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2017-2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 4 of 6
            Case 8:22-bk-12070-SC                         Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                 Desc
                                                          Main Document    Page 17 of 44
Debtor      Aerosysng, Inc.                                                                       Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.1
0     Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $191,541.75   $15,000.00
      Creditor's Name                             90 days or less: Alatus Aerostructures
      PO Box 145595                               Berry Way, Brea, CA 92821
      STOP 8420G
      Cincinnati, OH 45250-5585
      Creditor's mailing address                  Describe the lien
                                                  Federal Tax Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2021                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

2.1
1     Joseph Harry Davis                          Describe debtor's property that is subject to a lien                      $28,000.00    $5,000.00
      Creditor's Name                             Rent security deposit held by:
                                                  Barkley Square Partners
      139 Summer Street                           1106 W. Barkley Street, Unit 1
      Unit 1                                      Orange, CA 92868
      Somerville, MA 02143
      Creditor's mailing address                  Describe the lien
                                                  Possessory lien for rent and damages
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Small Business
2     Administration                              Describe debtor's property that is subject to a lien                     $163,593.00   $15,000.00
      Creditor's Name                             90 days or less: Alatus Aerostructures
                                                  Berry Way, Brea, CA 92821
      10737 Gateway West, #300
      El Paso, TX 79935
      Creditor's mailing address                  Describe the lien

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 5 of 6
            Case 8:22-bk-12070-SC                         Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                          Desc
                                                          Main Document    Page 18 of 44
Debtor      Aerosysng, Inc.                                                                       Case number (if known)
            Name

                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/10/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      Economic Injury Disaster
      Loan
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $837,659.75

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Barkley Square Partners
       1106 W. Barkley Street, Unit 1                                                                       Line   2.11
       Orange, CA 92868

       David Ari
       2362366 Front Street                                                                                 Line   2.11
       San Diego, CA 92101

       Hemar, Rousso & Heald, LLP
       15910 Ventura Boulevard, 12th Floor                                                                  Line   2.2
       Encino, CA 91436




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 6 of 6
             Case 8:22-bk-12070-SC                        Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                                     Desc
                                                          Main Document    Page 19 of 44
Fill in this information to identify the case:

Debtor name        Aerosysng, Inc.

United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $800.00       $800.00
          Franchise Tax Board                                  Check all that apply.
          PO Box 942867                                           Contingent
          Sacramento, CA 94267-0001                               Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2021                                                 Business Income Taxes

          Last 4 digits of account number 2000                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $93,882.00
          Citizens Business Bank                                                 Contingent
          701 North Haven Ave., Suite 210                                        Unliquidated
          Ontario, CA 91764                                                      Disputed
          Date(s) debt was incurred 8/2015
                                                                             Basis for the claim:     SBA loan
          Last 4 digits of account number 1697
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $738.00
          City of Orange                                                         Contingent
          300 E. Chapman Avenue                                                  Unliquidated
          Orange, CA 92866                                                       Disputed
          Date(s) debt was incurred 2020-2022
                                                                             Basis for the claim:     Utilities
          Last 4 digits of account number 7103
                                                                             Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 3
                                                                                                               47290
             Case 8:22-bk-12070-SC                       Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                               Desc
                                                         Main Document    Page 20 of 44
Debtor       Aerosysng, Inc.                                                                        Case number (if known)
             Name

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $37,581.00
          County of Orange                                                     Contingent
          Attn Treasurer- Tax Collector                                        Unliquidated
          PO Box 1438                                                          Disputed
          Santa Ana, CA 92702
                                                                           Basis for the claim:    Unsecured property tax
          Date(s) debt was incurred 25867
          Last 4 digits of account number 5622                             Is the claim subject to offset?     No       Yes


3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          David Vega                                                           Contingent
          c/o Wellman & Warren LLP                                             Unliquidated
          24411 Ridge Route, Suite 200
          Laguna Hills, CA 92653                                               Disputed

          Date(s) debt was incurred 2021                                   Basis for the claim:    Business tort claim
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,726.00
          EDD                                                                  Contingent
          PO Box 989061                                                        Unliquidated
          West Sacramento, CA 95798                                            Disputed
          Date(s) debt was incurred 2017-2022
                                                                           Basis for the claim:    Payroll taxes
          Last 4 digits of account number 0857
                                                                           Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $188,932.00
          Internal Revenue Service                                             Contingent
          PO Box 7346                                                          Unliquidated
          Philadelphia, PA 19101                                               Disputed
          Date(s) debt was incurred 2017-2021
                                                                           Basis for the claim:    941 payroll taxes
          Last 4 digits of account number 4831
                                                                           Is the claim subject to offset?     No       Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          PNC Equipment Finance                                                Contingent
          655 Business Center Drive                                            Unliquidated
          Suite 250                                                            Disputed
          Horsham, PA 19044
                                                                           Basis for the claim:    Late Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,041.00
          The Hartford Fin. Svcs. Group., Inc                                  Contingent
          One Hartford Plaza Hartford                                          Unliquidated
          Hartford, CT 06155                                                   Disputed
          Date(s) debt was incurred 2022
                                                                           Basis for the claim:    Financial services
          Last 4 digits of account number 2131
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
            Case 8:22-bk-12070-SC                    Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                     Desc
                                                     Main Document    Page 21 of 44
Debtor      Aerosysng, Inc.                                                             Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                    any
4.1       Brown & Joseph LLC
          One Pierce Place                                                             Line     3.8
          Ste. 700 W
                                                                                              Not listed. Explain
          Itasca, IL 60143

4.2       Leviton Law Firm, Ltd.
          One Pierce Place                                                             Line     3.8
          Suite 725W
                                                                                              Not listed. Explain
          Itasca, IL 60143

4.3       Paul S. Nash
          16148 Sand Canyon Ave.                                                       Line     3.4
          Irvine, CA 92618
                                                                                              Not listed. Explain

4.4       Scott H. Noskin
          Mirman, Bubman & Nahmias                                                     Line     3.1
          21860 Burbank Blvd.
                                                                                              Not listed. Explain
          Suite 360
          Woodland Hills, CA 91367

4.5       Wellman & Warren
          24411 Ridge Route                                                            Line     3.4
          Suite 200
                                                                                              Not listed. Explain
          Laguna Hills, CA 92653


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                        800.00
5b. Total claims from Part 2                                                              5b.    +    $                    333,900.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                      334,700.00




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 3
            Case 8:22-bk-12070-SC                    Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                         Desc
                                                     Main Document    Page 22 of 44
Fill in this information to identify the case:

Debtor name       Aerosysng, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
          Case 8:22-bk-12070-SC                   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                      Desc
                                                  Main Document    Page 23 of 44
Fill in this information to identify the case:

Debtor name      Aerosysng, Inc.

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Janice S. Chae              5600 Orangethorpe Avenue                                  Citizens Business                  D
                                      #2707                                                     Bank                               E/F       3.1
                                      La Palma, CA 90623
                                                                                                                                   G




   2.2    Minna J. Chae               2411 Ocean Key Drive                                      Citizens Business                  D
                                      La Marque, TX 77568                                       Bank                               E/F       3.1
                                                                                                                                   G




   2.3    Minna J. Chae               2411 Ocean Key Drive                                      Bank of the West                   D   2.2
                                      La Marque, TX 77568                                                                          E/F
                                                                                                                                   G




   2.4    Richard Chae                1513 San Rafael Place                                     Citizens Business                  D
                                      Corona, CA 92882                                          Bank                               E/F       3.1
                                                                                                                                   G




   2.5    Richard Chae                1513 San Rafael Place                                     David Vega                         D
                                      Corona, CA 92882                                                                             E/F       3.4
                                                                                                                                   G



Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
          Case 8:22-bk-12070-SC               Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                               Desc
                                              Main Document    Page 24 of 44
Debtor    Aerosysng, Inc.                                                         Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Richard Chae             1513 San Rafael Place                               Avalon Funding                     D   2.1
                                   Corona, CA 92882                                    Corporation                        E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
             Case 8:22-bk-12070-SC                  Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                        Desc
                                                    Main Document    Page 25 of 44



Fill in this information to identify the case:

Debtor name         Aerosysng, Inc.

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                           Gross revenue
      which may be a calendar year                                                    Check all that apply                         (before deductions and
                                                                                                                                   exclusions)

      For prior year:                                                                     Operating a business                                 $-17,702.00
      From 1/01/2021 to 12/31/2021                                                                 Ordinary business
                                                                                          Other    loss


      For year before that:                                                               Operating a business                                  $40,568.00
      From 1/01/2020 to 12/31/2020                                                                 Ordinary business
                                                                                          Other    income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue            Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
             Verizon Wireless                                     2/10/2022                          $1,953.21          Secured debt
             1 Verizon Place                                                                                            Unsecured loan repayments
             Alpharetta, GA 30004                                                                                       Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
             Case 8:22-bk-12070-SC                   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                            Desc
                                                     Main Document    Page 26 of 44
Debtor       Aerosysng, Inc.                                                                    Case number (if known)




4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property

      Citizens Business Bank                           Large cubicle, desks, shelving units, work                      April 2022                $193,355.00
      701 North Haven Ave., Suite 210                  benches, packing table station, table,
      Ontario, CA 91764                                chairs, retractable projection screen,
                                                       projector, surface plates granite, shelving ,
                                                       file cabinets, computers, laser printers,
                                                       monitors, cutters for mills, Doosan DNM
                                                       500 II 8K Spindle, HAAS CNC VF6SS 12K
                                                       Spindle, hot dimple machine, Kaiser air
                                                       compressor, Great Lakes dryer, hydraulic
                                                       press, shrinkers and stretchers, York lift
                                                       Toyota, YamaSeiki AV 1250 CNC mill, DEA
                                                       Sirroco CMM machine, 2009 International
                                                       flat


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    David Vega vs. Aerosysng,                Business tort               Orange County Superior                        Pending
              Inc., Richard H. Chae, et al.            claim                       Court                                         On appeal
              30-2021-01204622-CU-BT-CJC                                           700 Civic Center Drive West
                                                                                                                                 Concluded
                                                                                   Santa Ana, CA 92701

      7.2.    Bank of the West v.                      Breach of contract          Orange County Superior                        Pending
              Aerosysng, Inc., Minna J.                                            Court                                         On appeal
              Chae, et al.                                                         700 Civic Center Drive West
                                                                                                                                 Concluded
              30-2018-00976630-CU-BC-CJC                                           Santa Ana, CA 92701

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
              Case 8:22-bk-12070-SC                 Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                             Desc
                                                    Main Document    Page 27 of 44
Debtor        Aerosysng, Inc.                                                                    Case number (if known)



               Case title                             Nature of case               Court or agency's name and                 Status of case
               Case number                                                         address
      7.3.     Citizens Business Bank vs.             Breach of                    Orange County Superior                        Pending
               Aerosyng, Inc. et al                   Contract/Warranty            Court                                         On appeal
               30-2022-01254444-CU-BC-WJ                                           8141 13th Street
                                                                                                                                 Concluded
               C                                                                   Westminster, CA 92683


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates                    Total amount or
                the transfer?                                                                                                                           value
                Address
      11.1.     Heston & Heston
                19700 Fairchild Road
                Suite 280
                Irvine, CA 92612                        Attorney Fee plus Filing Fee                                  2/22/2022                     $5,338.00

                Email or website address
                rheston@hestonlaw.com

                Who made the payment, if not debtor?
                Robert Chae



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
            Case 8:22-bk-12070-SC                    Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                        Desc
                                                     Main Document    Page 28 of 44
Debtor      Aerosysng, Inc.                                                                      Case number (if known)



    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
            Case 8:22-bk-12070-SC                     Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                          Desc
                                                      Main Document    Page 29 of 44
Debtor      Aerosysng, Inc.                                                                      Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
            Case 8:22-bk-12070-SC                    Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                            Desc
                                                     Main Document    Page 30 of 44
Debtor      Aerosysng, Inc.                                                                     Case number (if known)



           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Aerosysng, Inc.                          Aerospace Manufacturing                           EIN:         46-518431
            1112 W. Barkley Avenue
            Orange, CA 92868                                                                           From-To      12/2/2013 to present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        AMTA CPA                                                                                                           2016 to 2018
                    400 N. Tustin Avenue #285
                    Santa Ana, CA 92705
      26a.2.        Tax Professionals                                                                                                  1/2019 to Present
                    1165 E. San Antonio Drive
                    Suite B
                    Long Beach, CA 90807

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
            Case 8:22-bk-12070-SC                   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                      Desc
                                                    Main Document    Page 31 of 44
Debtor      Aerosysng, Inc.                                                                    Case number (if known)



      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Richard Chae                           1513 San Rafael Place                               CEO/President                           51%
                                             Corona, CA 92881

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      David Vega                             15220 Cornuta Avenue                                CFO                                     49%
                                             Bellflower, CA 90706



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Minna Chae                                                                                                                    2016


      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Janice Chae                                                                                                                   2016



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 32 of 44
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 33 of 44
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 34 of 44
    Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                            Main Document    Page 35 of 44


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                       Aerosysng, Inc.
                       1112 W. Barkley Avenue
                       Orange, CA 92868


                       Richard G. Heston
                       Heston & Heston, Attorneys at Law
                       19700 Fairchild Road
                       Suite 280
                       Irvine, CA 92612
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 36 of 44



                   Avalon Funding Corporation
                   PO Box 10863
                   Santa Ana, CA 92711


                   Bank of the West
                   2527 Camino Ramon
                   San Ramon, CA 94583


                   Barkley Square Partners
                   1106 W. Barkley Street, Unit 1
                   Orange, CA 92868


                   Brown & Joseph LLC
                   One Pierce Place
                   Ste. 700 W
                   Itasca, IL 60143


                   Citizens Business Bank
                   701 North Haven Ave., Suite 210
                   Ontario, CA 91764


                   City of Orange
                   300 E. Chapman Avenue
                   Orange, CA 92866


                   County of Orange
                   Attn Treasurer- Tax Collector
                   PO Box 1438
                   Santa Ana, CA 92702


                   David Ari
                   2362366 Front Street
                   San Diego, CA 92101
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 37 of 44



                   David Vega
                   c/o Wellman & Warren LLP
                   24411 Ridge Route, Suite 200
                   Laguna Hills, CA 92653


                   EDD
                   PO Box 989061
                   West Sacramento, CA 95798


                   Employment Development Dept
                   Bankruptcy Group MIC 92E
                   PO Box 826880
                   Sacramento, CA 94280-0001


                   Franchise Tax Board
                   PO Box 942867
                   Sacramento, CA 94267-0001


                   Hemar, Rousso & Heald, LLP
                   15910 Ventura Boulevard, 12th Floor
                   Encino, CA 91436


                   Internal Revenue Service
                   PO Box 7346
                   Philadelphia, PA 19101


                   Internal Revenue Service
                   PO Box 145595
                   STOP 8420G
                   Cincinnati, OH 45250-5585


                   Janice S. Chae
                   5600 Orangethorpe Avenue
                   #2707
                   La Palma, CA 90623
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 38 of 44



                   Joseph Harry Davis
                   139 Summer Street
                   Unit 1
                   Somerville, MA 02143


                   Leviton Law Firm, Ltd.
                   One Pierce Place
                   Suite 725W
                   Itasca, IL 60143


                   Minna J. Chae
                   2411 Ocean Key Drive
                   La Marque, TX 77568


                   Paul S. Nash
                   16148 Sand Canyon Ave.
                   Irvine, CA 92618


                   PNC Equipment Finance
                   655 Business Center Drive
                   Suite 250
                   Horsham, PA 19044


                   Richard Chae
                   1513 San Rafael Place
                   Corona, CA 92882


                   Scott H. Noskin
                   Mirman, Bubman & Nahmias
                   21860 Burbank Blvd.
                   Suite 360
                   Woodland Hills, CA 91367


                   Small Business Administration
                   10737 Gateway West, #300
                   El Paso, TX 79935
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 39 of 44



                   The Hartford Fin. Svcs. Group., Inc
                   One Hartford Plaza Hartford
                   Hartford, CT 06155


                   Wellman & Warren
                   24411 Ridge Route
                   Suite 200
                   Laguna Hills, CA 92653
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 40 of 44
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 41 of 44
     Case 8:22-bk-12070-SC                        Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57                                                    Desc
                                                  Main Document    Page 42 of 44



                     Addendum to Corporate Ownership Statement Pursuant to
                  F.R.B.P. 1007(a)(1) and 7007.1, and Local Bankruptcy Rule 1002-5
The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
class of the corporation’s(s’) equity interests:
 David Vega

Richard H. Chae
1112 W. Barkley Aveue
Orange, CA 92868




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 43 of 44
Case 8:22-bk-12070-SC   Doc 1 Filed 12/07/22 Entered 12/07/22 14:45:57   Desc
                        Main Document    Page 44 of 44
